                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
Re:
        BRIAN ROBERT WALKER                                  Case No.: 1-17-03477-HWV
        SEANNA CHRISTINA WALKER                              Chapter 13
                      Debtor(s)

                                   NOTICE OF FINAL CURE PAYMENT

Pursuant to the Fed. Bankr. Rule 3002.1(f), the Trustee gives Notice that the amount required to
cure the pre-petition default in the below claim has been paid in full and the Debtor(s) have
completed all payments under the plan.

PART 1:                             MORTGAGE INFORMATION
Creditor Name:                      M & T BANK
Court Claim Number:                 08
Last Four of Loan Number:           6288/PRE ARREARS/24 FAIRVIEW AVE
Property Address if applicable:     24 FAIRVIEW AVENUE, , WAYNESBORO, PA17268

PART 2:                            CURE AMOUNT
TOTAL CURE DISBURSEMENT MADE BY THE TRUSTEE
a. Allowed prepetition arrearages:                                            $246.89
b. Prepetition arrearages paid by the Trustee:                                $246.89
c. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c):                                           $0.00
d. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c) and paid by the Trustee:                   $0.00
e. Allowed postpetition arrearage:                                            $0.00
f. Postpetition arrearages paid by the Trustee:                               $0.00
g. Total b, d, f:                                                             $246.89

PART 3:                      POST PETITION MORTGAGE PAYMENT
Paid direct by the Debtor(s)
Current Monthly Mortgage Payment: $0.00
Next postpetition payment due:
If known, Principal Balance Outstanding: UNKNOWN

PART 4:               A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)

Within 21 days of the service of this Notice, the creditor must file and serve same on debtor,
debtor’s counsel and trustee, pursuant to Fed. Bankr. Rule 3002.1(g), a statement indicating
whether it agrees that the debtor has paid in full the amount required to cure the default, has paid
all outstanding post-petition fees, costs or escrow amounts due, and whether, consistent with
§1322(b)(5) of the Bankruptcy Code, the debtor is current on all post-petition payments as of the
date of this Notice or be subject to further action of the court including possible sanctions.


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To assist in reconciling the claim, a history of payments made by the Trustee is attached to copies
of this Notice sent to the Debtor and Creditor.

I certify that the information contained herein is true and correct to the best of my knowledge,
information and reasonable belief.

Dated: September 27, 2022                        Respectfully submitted,

                                                 /s/ Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 Suite A, 8125 Adams Drive
                                                 Hummelstown, PA 17036
                                                 Phone: (717) 566-6097
                                                 Fax: (717) 566-8313
                                                 eMail: info@pamd13trustee.com




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Creditor Name: M & T BANK
Court Claim Number: 08
     CLM #   CHECK #        DATE       PRIN PAID        INT PAID    TOTAL DISB

     5200    9005389    10/10/2018      $16.73       $0.00          $16.73
     5200    9005643    01/10/2019      $15.93       $0.00          $15.93
     5200    9005897    04/11/2019      $15.95       $0.00          $15.95
     5200    9006152    07/11/2019      $18.59       $0.00          $18.59
     5200    9006440    10/10/2019      $16.19       $0.00          $16.19
     5200    9006705    01/16/2020      $15.98       $0.00          $15.98
     5200    9007044    04/14/2020      $15.97       $0.00          $15.97
     5200    9008054    08/12/2020      $17.98       $0.00          $17.98
     5200    9008965    11/03/2020      $15.43       $0.00          $15.43
     5200    9010072    02/17/2021      $18.18       $0.00          $18.18
     5200    9010941    05/18/2021      $15.58       $0.00          $15.58
     5200    9011747    08/18/2021      $16.10       $0.00          $16.10
     5200    9012249    10/14/2021      $43.74       $0.00          $43.74
     5200    9012502    11/16/2021      $4.54       $0.00          $4.54




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Re:
      BRIAN ROBERT WALKER                             Case No.: 1-17-03477-HWV
      SEANNA CHRISTINA WALKER                         Chapter 13
                    Debtor(s)


                                 CERTIFICATE OF SERVICE
 I certify that I am more than 18 years of age and that on September 27, 2022, I served a copy
 of this Notice of Final Cure and History of Payments made on the following parties by 1st Class
 mail, from Hummelstown, PA unless served electronically.

  NICHOLAS G PLATT, ESQUIRE                          SERVED ELECTRONICALLY
  MOONEY LAW
  230 YORK STREET
  HANOVER PA, 17331-


  M&T BANK                                           SERVED BY 1ST CLASS MAIL
  PO BOX 840
  BUFFALO, NY, 14240


  BRIAN ROBERT WALKER                                SERVED BY 1ST CLASS MAIL
  SEANNA CHRISTINA WALKER
  24 FAIRVIEW AVENUE
  WAYNESBORO, PA 17268



 I certify under penalty of perjury that the foregoing is true and correct.


 Date: September 27, 2022                            /s/ Liz Joyce
                                                     for Jack N. Zaharopoulos
                                                     Standing Chapter 13 Trustee
                                                     Suite A, 8125 Adams Drive
                                                     Hummelstown, PA 17036
                                                     Phone: (717) 566-6097
                                                     Fax: (717) 566-8313
                                                     eMail: info@pamd13trustee.com




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